Case: 1:23-cv-04098 Document #: 162-3 Filed: 02/18/25 Page 1 of 19 PageID #:30085




                        EXHIBIT 3
Case: 1:23-cv-04098 Document #: 162-3 Filed: 02/18/25 Page 2 of 19 PageID #:30086
Case: 1:23-cv-04098 Document #: 162-3 Filed: 02/18/25 Page 3 of 19 PageID #:30087
Case: 1:23-cv-04098 Document #: 162-3 Filed: 02/18/25 Page 4 of 19 PageID #:30088
Case: 1:23-cv-04098 Document #: 162-3 Filed: 02/18/25 Page 5 of 19 PageID #:30089
Case: 1:23-cv-04098 Document #: 162-3 Filed: 02/18/25 Page 6 of 19 PageID #:30090
Case: 1:23-cv-04098 Document #: 162-3 Filed: 02/18/25 Page 7 of 19 PageID #:30091
Case: 1:23-cv-04098 Document #: 162-3 Filed: 02/18/25 Page 8 of 19 PageID #:30092
Case: 1:23-cv-04098 Document #: 162-3 Filed: 02/18/25 Page 9 of 19 PageID #:30093
Case: 1:23-cv-04098 Document #: 162-3 Filed: 02/18/25 Page 10 of 19 PageID #:30094
Case: 1:23-cv-04098 Document #: 162-3 Filed: 02/18/25 Page 11 of 19 PageID #:30095
Case: 1:23-cv-04098 Document #: 162-3 Filed: 02/18/25 Page 12 of 19 PageID #:30096
Case: 1:23-cv-04098 Document #: 162-3 Filed: 02/18/25 Page 13 of 19 PageID #:30097
Case: 1:23-cv-04098 Document #: 162-3 Filed: 02/18/25 Page 14 of 19 PageID #:30098
Case: 1:23-cv-04098 Document #: 162-3 Filed: 02/18/25 Page 15 of 19 PageID #:30099
Case: 1:23-cv-04098 Document #: 162-3 Filed: 02/18/25 Page 16 of 19 PageID #:30100
Case: 1:23-cv-04098 Document #: 162-3 Filed: 02/18/25 Page 17 of 19 PageID #:30101
Case: 1:23-cv-04098 Document #: 162-3 Filed: 02/18/25 Page 18 of 19 PageID #:30102
Case: 1:23-cv-04098 Document #: 162-3 Filed: 02/18/25 Page 19 of 19 PageID #:30103
